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MIE 240A (Rev.04/18) Order on Application to Proceed Without Prepaying Fees or Costs


                                                UNITED STATES DISTRICT COURT
                                                EASTERN DISTRICT OF MICHIGAN

 Grayson-Bey,


                   Plaintiff(s),                                             Case No. 19-13588

v.
                                                                             Hon. Nancy G. Edmunds
 Soutfield Police Department, et al,


                   Defendant(s).
                                                              /


                     ORDER ON APPLICATION TO PROCEED WITHOUT PREPAYING FEES OR COSTS


      IT IS ORDERED: The plaintiff's application under 28 U.S.C. § 1915 to proceed without prepaying fees or costs is:

      GRANTED:
        The clerk is ordered to issue summons. The attorney for the plaintiff(s), in accordance with Local Rule 4.1(c), is ordered
        to serve the summons with a copy of the complaint on each defendant.

 ✔ GRANTED:
         The clerk is ordered to issue summons upon receipt of the completed summons and USM-285 form for each defendant.
         The United States Marshal is ordered to serve the completed summons with a copy of the complaint on the defendant(s).
         The United States will advance the costs of service. If the completed summons and USM-285 forms are not submitted
         as directed, the complaint may be dismissed.

      GRANTED:
        The clerk is ordered to issue summons upon receipt of the completed summons forms for each defendant. The plaintiff,
        having waived service by the United States Marshal, is ordered to serve the summons with a copy of the complaint on
        the defendant(s). If the completed summons are not submitted as directed, the complaint may be dismissed.

      DENIED:
          This application is denied for these reasons:




            As a result of the denial, the plaintiff is directed to pay the filing fee by                                       .
            Failure to pay the filing fee by this deadline may result in dismissal of the complaint.


      IT IS SO ORDERED.


                                                                   s/Nancy G. Edmunds
                                                                   Nancy G. Edmunds
                                                                   U.S. District Judge
       Case 2:19-cv-13588-NGE-DRG ECF No. 5, PageID.17 Filed 12/16/19 Page 2 of 2
MIE 240A (Rev.04/18) Order on Application to Proceed Without Prepaying Fees or Costs




                                                        Certificate of Service
      I hereby certify that on this date a copy of the foregoing Order was served upon the parties and/or counsel of record herein
by electronic means or first class U.S. mail.



Date: December 16, 2019                                             s/ L. Bartlett
                                                                    Deputy Clerk




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